                    Case 3:19-cv-00620-AWT Document 69 Filed 10/24/19 Page 1 of 1
                                                                                                       Civil- (Dec-2008)
                                                      HONORABLE:     Alvin W. Thompson
                            DEPUTY CLERK L. S. Ferguson             RPTR/ECRO/TAPE C. Thompson
TOTAL TIME: 1                hours 50   minutes
                               DATE:  10/24/19      START TIME: 2:06 pm        END TIME: 3:56 pm
                                                 LUNCH RECESS         FROM:            TO:
                                         RECESS (if more than ½ hr)   FROM:            TO:

CIVIL NO. 3:19-cv-00620-AWT


            John Doe                                                      Jonathan J. Einhorn, Jorge Hernandez
                                                                                 Plaintiff’s Counsel
                               vs
            Yale University et al                                         Patrick M. Noonan
                                                                                 Defendant’s Counsel

                                       COURTROOM MINUTES- CIVIL

                   ✔ Motion hearing                       Show Cause Hearing
                       Evidentiary Hearing                Judgment Debtor Exam
                       Miscellaneous Hearing

✔ .....# 37        Motion (Sealed)                                        ✔ granted       denied       advisement
   .....#          Motion                                                    granted      denied       advisement
   .....#          Motion                                                    granted      denied       advisement
   .....#          Motion                                                    granted      denied       advisement
   .....#          Motion                                                    granted      denied       advisement
   .....#          Motion                                                    granted      denied       advisement
   .....#          Motion                                                    granted      denied       advisement
   .....           Oral Motion                                               granted      denied       advisement
   .....           Oral Motion                                               granted      denied       advisement
   .....           Oral Motion                                               granted      denied       advisement
  .....            Oral Motion                                               granted      denied       advisement
   .....              Briefs(s) due               Proposed Findings due                Response due
  .............                                                                                filed   docketed
  .............                                                                                filed   docketed
  .............                                                                                filed   docketed
  .............                                                                                filed    docketed
   .............                                                                               filed   docketed
   .............                                                                               filed   docketed
   ............                         Hearing continued until                           at
